                                       
                                       
                                    IN THE
                            TENTH COURT OF APPEALS
                                       
                                       
                                       
                              No. 10-20-00040-CR
                              No. 10-20-00041-CR
                                       
                            IN RE DAMIEN N. CALHOUN
                                       
                                       
                              Original Proceeding
                                       
                                       
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2MEMORANDUM  OPINION
                                       
      Damien N. Calhoun seeks a writ of mandamus from this Court compelling the trial court to withdraw an order to withhold funds from his inmate account.  The procedure necessary to complain about an order to withhold funds from an inmate account was described in Harrell v. State, 286 S.W.3d 315 (Tex. 2009).  See In re Buhl, Nos. 10-19-00478-CR, 10-19-00482-CR, 2020 Tex. App. LEXIS 102 (Tex. App. -- Waco Jan. 8, 2020, no pet.).  That procedure is to file a motion complaining about the withdrawal order which should be filed with the trial court clerk for the trial court that signed the order.  If the trial court then denies the relief requested in the motion, then an appeal, which will be a civil proceeding, can be taken from that denial.  There is nothing in the record before us to indicate Calhoun filed a motion in the trial court complaining about the withdrawal order.
      Because another procedure is available to Calhoun, he is not entitled to relief by mandamus.  Accordingly, Calhouns's petitions for writ of mandamus are denied.
                                          
                                          
                                          
                                          JOHN E. NEILL
                                          Justice

Before Chief Justice Gray,
      Justice Davis, and
      Justice Neill
Petitions denied
Opinion delivered and filed February 19, 2020
[OT06]
